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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UZOAMAKA ANYIWO,

        Plaintiff,

v.                                                  Civil Action: ________________________

BIDDEFORD BLANKETS, INC. and TARGET
BRANDS, INC.

        Defendants.


                                          COMPLAINT

                                      (Jury Trial Demanded)

        1.       Plaintiff Uzoamaka Anyiwo (“Ms. Anyiwo”) brings this complaint for

negligence, strict products liability, breach of warranty, and violations of Chapter 93A against

Defendants Biddeford Blankets, Inc. and Target Brands, Inc. (“Target”). This action relates to a

dangerous and defective electric blanket that was designed, manufactured, tested, and/or sold by

or through the Defendants.

                                            PARTIES

        2.       Ms. Anyiwo is a resident of the Commonwealth of Massachusetts.

        3.       Biddeford Blankets, Inc. (“Biddeford Blankets”) is a Delaware Limited Liability

Company with a principal place of business located at 300-302 Terrace Drive, Mundelein,

Illinois.

        4.       Target Brands, Inc. (“Target”) is a Minnesota Business Corporation with a

principal place of business located at 1000 Nicollet Mall, Minneapolis, Minnesota.

                                 JURISDICTION AND VENUE

        5.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because


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the matter in controversy exceeds $75,000 and is between citizens of different states.

       6.      Venue is proper pursuant to 28 U.S.C. § 1391 because Ms. Anyiwo is a resident

of Massachusetts.

                                             FACTS

       7.      At all relevant times, Biddeford Blankets was in the business of designing,

manufacturing, testing, distributing, and/or selling electric blankets, including a blanket known

as the “Heated Microplush Throw,” model number TC13B-1.

       8.      At all relevant times, Target was in the business of distributing and/or selling

consumer goods including “Biddeford Blankets” electric blankets, including the “Heated

Microplush Throw,” model number TC13B-1.

       9.      Around September of 2014, Ms. Anyiwo purchased a new Biddeford Blankets

“Heated Microplush Throw,” model number TC13B-1, from a Target location in South Shore

Plaza, Braintree, Massachusetts.

       10.     On September 14, 2015, while Ms. Anyiwo was asleep in her bed with the

“Heated Microplush Throw” on top of her, the blanket caught on fire and caused her serious and

permanent injuries including first and second degree burns to her feet, legs, hands, and groin.

       11.     As a result of the blanket catching on fire, Ms. Anyiwo suffered severe and

permanent physical and emotional injuries in excess of $75,000.

                                   COUNT 1: NEGLIGENCE
                                      (Both Defendants)

       12.     Ms. Anyiwo incorporates the preceding paragraphs as if fully restated herein.

       13.     Defendants had a duty to exercise reasonable care in designing, manufacturing,

marketing, labeling, packaging, and selling the Biddeford Blankets “Heated Microplush Throw.”

       14.     Defendants were negligent in failing to use reasonable care in designing,

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manufacturing, marketing, labeling, packaging, and selling the Biddeford Blankets “Heated

Microplush Throw.”

       15.     As a direct and proximate result of Biddeford Blankets’ negligence, Ms. Anyiwo

was caused and/or in the future will be caused to suffer severe personal injuries, pain and

suffering, severe emotional distress, financial and/or economic loss, including but not limited to

obligations for medical services and expenses, lost income, and other damages.

                    COUNT 2: STRICT LIABILITY – DESIGN DEFECT
                                  (Both Defendants)

       16.     Ms. Anyiwo incorporates the preceding paragraphs as if fully restated herein.

       17.     The Biddeford Blankets “Heated Microplush Throw” was not reasonably safe for

its intended use and was defective as a matter of law with respect to its design.

       18.     As a direct and proximate result of said defect, Ms. Anyiwo was caused and/or in

the future will be caused to suffer severe personal injuries, pain and suffering, severe emotional

distress, financial and/or economic loss, including but not limited to obligations for medical

services and expenses, lost income, and other damages.

       19.     Defendants are strictly liable to Ms. Anyiwo for designing, manufacturing,

marketing, labeling, packaging, and selling the defective product.

             COUNT 3: STRICT LIABILITY – MANUFACTURING DEFECT
                                (Both Defendants)

       20.     Ms. Anyiwo incorporates the preceding paragraphs as if fully restated herein.

       21.     The Biddeford Blankets “Heated Microplush Throw” was not reasonably safe for

its intended use and was defective as a matter of law with respect to its manufacture.

       22.     As a direct and proximate result of said defect, Ms. Anyiwo was caused and/or in

the future will be caused to suffer severe personal injuries, pain and suffering, severe emotional



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distress, financial and/or economic loss, including but not limited to obligations for medical

services and expenses, lost income, and other damages.

       23.     Defendants are strictly liable to Ms. Anyiwo for designing, manufacturing,

marketing, labeling, packaging, and selling the defective product.

                  COUNT 4: STRICT LIABILITY – FAILURE TO WARN
                                 (Both Defendants)

       24.     Ms. Anyiwo incorporates the preceding paragraphs as if fully restated herein.

       25.     The Biddeford Blankets “Heated Microplush Throw” was not reasonably safe for

its intended use and was defective as a matter of law due to its lack of necessary and appropriate

warnings.

       26.     As a direct and proximate result of said defect, Ms. Anyiwo was caused and/or in

the future will be caused to suffer severe personal injuries, pain and suffering, severe emotional

distress, financial and/or economic loss, including but not limited to obligations for medical

services and expenses, lost income, and other damages.

       27.     Defendants are strictly liable to Ms. Anyiwo for designing, manufacturing,

marketing, labeling, packaging, and selling the defective product.

                     COUNT 5: BREACH OF EXPRESS WARRANTY
                                 (Both Defendants)

       28.     Ms. Anyiwo incorporates the preceding paragraphs as if fully restated herein.

       29.     Defendants made assurances to the chain of distributors, retailers, and to the

general public, including Ms. Anyiwo, that the Biddeford Blankets “Heated Microplush Throw”

was reasonably safe, merchantable, and fit for its intended use.

       30.     Ms. Anyiwo reasonably relied on the Defendants’ express warranties and

guarantees that the Biddeford Blankets “Heated Microplush Throw” was reasonably safe,



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merchantable, and fit for its intended use.

       31.     Defendants breached those express warranties because the Biddeford Blankets

“Heated Microplush Throw” was unreasonably dangerous and defective, contrary to the

Defendants’ representations.

       32.     Defendants’ breaches of their express warranties resulted in Ms. Anyiwo’s use of

the unreasonably dangerous and defective Biddeford Blankets “Heated Microplush Throw,”

placing her safety and health in jeopardy.

       33.     As a direct and proximate result of Defendants’ breaches of the aforementioned

express warranties, Ms. Anyiwo was caused and/or in the future will be caused to suffer severe

personal injuries, pain and suffering, severe emotional distress, financial and/or economic loss,

including but not limited to obligations for medical services and expenses, lost income, and other

damages.

                      COUNT 6: BREACH OF IMPLIED WARRANTY
                                  (Both Defendants)

       34.     Ms. Anyiwo incorporates the preceding paragraphs as if fully restated herein.

       35.     Defendants impliedly warranted that the Biddeford Blankets “Heated Microplush

Throw” was merchantable and fit for the ordinary purpose for which it was intended.

       36.     Ms. Anyiwo and/or the chain of retailers and distributors reasonably relied on the

Defendants’ implied warranties of merchantability when they purchased and used the Biddeford

Blankets “Heated Microplush Throw.”

       37.     Defendants breached these implied warranties of merchantability because the

Biddeford Blankets “Heated Microplush Throw” was neither merchantable nor suited for its

intended uses as warranted.

       38.     Defendants’ breaches of their implied warranties of merchantability resulted in

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Ms. Anyiwo’s use of the unreasonably dangerous and defective Biddeford Blankets “Heated

Microplush Throw,” placing her safety and health in jeopardy.

       39.      As a direct and proximate result of Defendants’ breaches of the aforementioned

implied warranties, Ms. Anyiwo was caused and/or in the future will be caused to suffer severe

personal injuries, pain and suffering, severe emotional distress, financial and/or economic loss,

including but not limited to obligations for medical services and expenses, lost income, and other

damages.

                         COUNT 7: VIOLATION OF M.G.L. Ch. 93A
                                    (Both Defendants)

       40.      Ms. Anyiwo incorporates the preceding paragraphs as if fully restated herein.

       41.      By their breach of warranties and negligence as set forth above, Defendants

engaged in unfair and deceptive acts or practices within the meaning of and in violation of the

provisions of Massachusetts General Laws, Chapter 93A. More specifically:

             a. Biddeford Blankets committed unfair and deceptive acts or practices by and

                through its design, manufacture, marketing, advertising, and sale of the “Heated

                Microplush Throw,” in violation of the aforementioned warranties, and while and

                when it knew or should have known about the dangers of its product including its

                propensity to catch and cause fire while in use.

             b. Target committed unfair and deceptive acts or practices by and through its

                marketing, advertising and sale of the “Heated Microplush Throw,” in violation of

                the aforementioned warranties, and while and when it knew or should have

                known about the dangers of the product including its propensity to catch and

                cause fire while in use.

       42.      As a result of their respective unfair and deceptive acts, the Defendants caused the

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Plaintiff to suffer damages in violation of M.G.L. ch. 93A, and the Plaintiff is entitled to double

or treble damages, costs, and attorneys’ fees.


                PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL COUNTS


Dated: July 13, 2018

UZOAMAKA ANYIWO
By her attorneys:




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